
62 So. 3d 1278 (2011)
CITIZENS PROPERTY INSURANCE CORPORATION, Appellant,
v.
CONGREGATION ADAS DEJ MACLEI ZEDEX, Appellee.
No. 3D11-495.
District Court of Appeal of Florida, Third District.
June 22, 2011.
*1279 Hinshaw &amp; Culbertson, and Maureen G. Pearcy and Paul Wallace, Miami, for appellant.
Ginsberg &amp; Schwartz, and Arnold R. Ginsberg, for appellee.
Before RAMIREZ, C.J., and SALTER and EMAS, JJ.
PER CURIAM.

On Confession of Error
Following the candid and commendable confession of error by the appellee, the order compelling appraisal is hereby reversed and remanded to the trial court for an evidentiary hearing regarding the appellee's compliance with post-loss conditions. See Citizens Prop. Ins. Corp. v. Mango Hill Condo. Ass'n, 54 So. 3d 578 (Fla. 3d DCA 2011).
Reversed and remanded.
